                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

       Plaintiff,

     v.                                                 Case No. 16-CR-187

KANWAR GILL,

      Defendant.


                          REPORT AND RECOMMENDATION


       On May 23, 2017, the United States of America and the Defendant, Kanwar Gill,

appeared before me pursuant to Federal Rule of Criminal Procedure 11. Gill entered a plea

of guilty to Count Two of the Indictment.

       After cautioning and examining Gill under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and

that the offense charged is supported by an independent factual basis containing each of the

essential elements of the offense.

       NOW, THEREFORE, IT IS RECOMMENDED that Gill’s plea of guilty be

accepted; that a presentence investigation and report be prepared; and that Gill be

adjudicated guilty and have sentence imposed accordingly.

       Your attention is directed to General L.R. 72(c), 28 U.S.C. § 636(b)(1)(B) and

Federal Rule of Criminal Procedure 59(b), or Federal Rule of Civil Procedure 72(b) if

applicable, whereby written objections to any recommendation or order herein, or part

thereof, may be filed within fourteen days of the date of service of this recommendation or



          Case 2:16-cr-00187-JPS     Filed 05/23/17    Page 1 of 2    Document 53
order. Objections are to be filed in accordance with the Eastern District of Wisconsin’s

electronic case filing procedures. Courtesy paper copies of any objections shall be sent

directly to the chambers of the district judge assigned to the case. Failure to file a timely

objection with the district court shall result in a waiver of a party’s right to appeal. If no

response or reply will be filed, please notify the Court in writing.



               Dated at Milwaukee, Wisconsin this 23rd day of May, 2017.



                                                    BY THE COURT

                                                    s/Nancy Joseph_____________
                                                    NANCY JOSEPH
                                                    United States Magistrate Judge




                                               2
        Case 2:16-cr-00187-JPS         Filed 05/23/17     Page 2 of 2   Document 53
